      Case 5:18-cv-00234-C Document 60 Filed 11/01/18                  Page 1 of 8 PageID 963


                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      LUBBOCK DIVISION

                                                        §
FIRST BANK & TRUST,                                     §
                                                        §
                  Plaintiff,                            §
                                                        §
vs.                                                     §   Cause No.5:18-cv-00234-C
                                                        §
REAGOR AUTO MALL, LTD. d/b/a                            §
REAGOR-DYKES OF LEVELLAND and                           §
d/b/a REAGOR-DYKES IMPORTS,                             §
FIRSTCAPITAL BANK OF TEXAS, N.A.,                       §
BART REAGOR, RICK DYKES, SHANE                          §
SMITH, SHEILA MILLER, BRAD D.                           §
BURGESS, and KENNETH L. BURGESS,                        §
                                                        §
                  Defendant.                            §


                        PLAINTIFF'S ANSWER TO DEFENDANT
                 FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM

         Plaintiff First Bank & Trust (“First Bank” or “Plaintiff”) respectfully submits this Answer

to Defendant FirstCapital Bank of Texas, N.A.’s (“FirstCapital”) Counterclaim and states the

following:

                                 ANSWER TO COUNTERCLAIMS

         1.       First Bank lacks knowledge or information sufficient to form a belief about the truth

of the allegations contained in paragraph 228.

         2.       First Bank denies that FirstCapital’s alleged security interest is superior to any

security interest or right of possession that First Bank may have. First Bank admits it filed a UCC-

1 financing statement against RAM covering inventory on November 8, 2017. First Bank also

filed a UCC-1 financing statement against RAM covering inventory on September 14, 2012. First


PLAINTIFF'S ANSWER TO DEFENDANT
FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM - Page 1


CORE/3507552.0006/147955469.2
    Case 5:18-cv-00234-C Document 60 Filed 11/01/18                  Page 2 of 8 PageID 964


Bank denies the last two sentences of paragraph 229 because the chronology of filing is irrelevant

to the extent of the inventory of RAM subject to purchase money security interests granted by

RAM to First Bank. See TEX. BUS. & COM. CODE § 9.324(b). First Bank lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations contained in

paragraph 229.

         3.       First Bank denies the allegations contained in paragraph 230. First Bank holds

purchase money security interests with priority over the security interests asserted by FirstCapital.

Moreover, as a holder of a security interest in RAM's inventory, First Bank was entitled to take

possession of such inventory or its proceeds. See e.g., TEX. BUS. & COM. CODE § 9.609. In

addition, First Bank denies that it directly received proceeds from disposition of inventory

collateral of RAM. Instead, RAM made payments by check to First Bank from RAM's accounts

at FirstCapital which were received and applied by First Bank as a holder in due course of such

checks to the debt owed by RAM to First Bank. Regardless of priorities of security interests in

RAM's inventory, First Bank received such checks free of any claim by FirstCapital. See TEX.

BUS. & COM. CODE § 3.306 & §§ 9.331(a) & 9.332(b). However, even if First Bank had received

proceeds directly from liquidation of RAM's inventory collateral, First Bank would not be liable

therefor to FirstCapital. See TEX. BUS. & COM. CODE §§ 9.315 & 9.607.

         4.       First Bank denies the allegations contained in paragraph 231. Even if First Bank's

security interests were subordinate in priority to First Capital's security interests in existing

inventory, a subordinate lienholder is entitled to take possession from a debtor in default. At most,

the subordinate lienholder must yield possession to a senior lienholder upon demand for possession

by such senior lienholder. TEX. BUS. & COM. CODE § 9.609 com. 5.



PLAINTIFF'S ANSWER TO DEFENDANT
FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM - Page 2


CORE/3507552.0006/147955469.2
    Case 5:18-cv-00234-C Document 60 Filed 11/01/18                    Page 3 of 8 PageID 965


         3.       First Bank denies that FirstCapital has superior interest and right to the RAM assets

as against First Bank and denies that First Bank converted millions of dollars’ worth of collateral

proceeds to its own benefit and to the detriment of FirstCapital. First Bank lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations contained in

paragraph 232.

         4.       First Bank lacks knowledge or information sufficient to form a belief about the truth

of the allegations contained in paragraph 233.

         5.       First Bank admits the allegations contained in paragraph 234.

         6.       First Bank lacks knowledge or information sufficient to form a belief about the truth

of the allegations contained in paragraph 235.

         7.       First Bank lacks knowledge or information sufficient to form a belief about the truth

of the allegations contained in paragraph 236.

         8.       First Bank lacks knowledge or information sufficient to form a belief about the truth

of the allegations contained in paragraph 237.

         9.       First Bank admits that it claims security interests in RAM assets. First Bank admits

that its First Amended Complaint and Application for Writ of Sequestration (“Plaintiff’s

Complaint”) does not contain an allegation that it has a perfected security interest in RAM assets

it claims a lien on and that Plaintiff’s Complaint does not identify any financing statements filed

with the Texas Secretary of State. First Bank denies that this was an intentional oversight because

perfection is irrelevant to the relief sought by First Bank – exercise of its right as a secured party

to take possession from a debtor in default. The Uniform Commercial Code does not require

perfection of a security interest for such relief. TEX. BUS. & COM. CODE § 9.609. Instead, First



PLAINTIFF'S ANSWER TO DEFENDANT
FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM - Page 3


CORE/3507552.0006/147955469.2
    Case 5:18-cv-00234-C Document 60 Filed 11/01/18                   Page 4 of 8 PageID 966


Bank established the requisite debt in default which is secured by a security interest in the collateral

for which it seeks possession. Although irrelevant, First Bank admits that it filed financing

statements on September 14, 2012 and November 8, 2017. First Bank lacks knowledge or

information sufficient to form a belief about the truth of the findings of some unidentified person’s

search of the Texas Secretary of state “records,” or whether such financing statement referred in

paragraph 238 is ineffective. Although irrelevant, First Bank denies that it negligently failed to

practice proper banking procedures and properly renew the financing statement referred to in

paragraph 238. First Bank lacks knowledge or information sufficient to form a belief about the

truth of the remaining allegations contained in paragraph 238.

         10.      First Bank denies that FirstCapital maintains the first filed priority financing

statement against RAM ahead of all other creditors, including First Bank as more particularly set

forth above. With regard to the remaining allegations concerning the Uniform Commercial Code,

the statute speaks for itself and FirstCapital's comments are legal conclusions for which no

response is required.

         11.      First Bank denies the allegations contained in paragraph 240 for the reasons more

specifically set forth above.

         12.      First Bank denies the allegations contained in paragraph 241 for the reasons more

specifically set forth above.

         13.      Paragraph 242 does not contain an allegation requiring admission or denial, but to

the extent that it does contain allegations, First Bank denies the allegations contained in paragraph

242.




PLAINTIFF'S ANSWER TO DEFENDANT
FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM - Page 4


CORE/3507552.0006/147955469.2
    Case 5:18-cv-00234-C Document 60 Filed 11/01/18                    Page 5 of 8 PageID 967


         14.      Paragraph 243 does not contain an allegation requiring admission or denial, but to

the extent that it does contain allegations, First Bank denies the allegations contained in paragraph

243.

         15.      First Bank admits that it asserts a priority security interest in assets of RAM and to

the extent thereof, denies the remaining allegations contained in paragraph 244.

         16.      Paragraph 245 does not contain an allegation requiring admission or denial, but to

the extent that it does contain allegations, First Bank denies the allegations contained in paragraph

245.

         17.      Paragraph 246 does not contain an allegation requiring admission or denial, but to

the extent that it does contain allegations, First Bank denies the allegations contained in paragraph

246.

         18.      First Bank denies the allegations contained in paragraph 247 for the reasons set

forth above. See e.g., TEX. BUS. & COM. CODE § 3.306 & §§ 9.324(b), 09.315, 9.331(a), 9.332(b),

9.607, & 9.609.

         19.      First Bank denies that FirstCapital is entitled to a judgment against First Bank for

conversion of the millions of dollars in sales proceeds that FirstCapital alleges First Bank

wrongfully converted to its own benefit and to the detriment of FirstCapital. The remainder of

Paragraph 248 does not contain an allegation requiring admission or denial, but to the extent that

it does contain allegations, First Bank denies the remaining allegations contained in paragraph 248.

         20.      Paragraph 249 does not contain an allegation requiring admission or denial, but to

the extent that it does contain allegations, First Bank denies the allegations contained in paragraph

249.



PLAINTIFF'S ANSWER TO DEFENDANT
FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM - Page 5


CORE/3507552.0006/147955469.2
    Case 5:18-cv-00234-C Document 60 Filed 11/01/18                    Page 6 of 8 PageID 968


         21.      First Bank denies the allegations contained in paragraph 250 for the reasons more

specifically set forth above.

         22.      First Bank denies that FirstCapital is entitled to a complete accounting of all

proceeds by Plaintiff relating to RAM vehicle sales. First Bank denies that it took any wrongful

actions against the proceeds, denies that the proceeds rightfully belong to FirstCapital, and denies

that immediate relief to FirstCapital is necessary. First Bank denies that FirstCapital is entitled to

an immediate order directing Plaintiff to provide FirstCapital with a detailed accounting of all

proceeds received from RAM vehicle sales. Finally, FirstCapital already has the information

sought because all payments made to First Bank by RAM were made on RAM's deposit accounts

at FirstCapital. The remainder of Paragraph 251 does not contain an allegation requiring admission

or denial, but to the extent that it does contain allegations, First Bank denies the remaining

allegations contained in paragraph 251.

         23.      Paragraph 252 does not contain an allegation requiring admission or denial, but to

the extent that it does contain allegations, First Bank denies the allegations contained in paragraph

252.

         24.      First Bank denies the allegations contained in paragraph 253.

         25.      Paragraph 254 does not contain an allegation requiring admission or denial, but to

the extent that it does contain allegations, First Bank denies the allegations contained in paragraph

254.

         26.      First Bank lacks knowledge or information sufficient to form a belief about the truth

of the allegations contained in paragraph 255.




PLAINTIFF'S ANSWER TO DEFENDANT
FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM - Page 6


CORE/3507552.0006/147955469.2
    Case 5:18-cv-00234-C Document 60 Filed 11/01/18                    Page 7 of 8 PageID 969


         27.      First Bank denies that FirstCapital is entitled to attorneys’ fees incurred through

trial and any subsequent appeal. The remainder of Paragraph 256 does not contain an allegation

requiring admission or denial, but to the extent that it does contain allegations, First Bank denies

the remaining allegations contained in paragraph 256.

                                    AFFIRMATIVE DEFENSES

         Without admitting the truth of the matter, First Bank asserts the following affirmative

defenses:

         28.      Contributory negligence.

         29.      Failure to mitigate its damages, if any.

         30.      Estoppel, including by reason of FirstCapital's allowance of final payment of all

checks to First Bank drawn by RAM on RAM's deposit accounts at FirstCapital and the long course

of conduct and performance among those three parties.

         31.      Fraud.

         32.      Laches, including by reason of the long course of conduct and performance among

First Bank, RAM and First Capital.

    33. Waiver, including by reason of the long course of conduct and performance among First

         Bank, RAM and First Capital.

         34.      Superior right to funds, including the rights of First Bank as a holder in due course.

         35.      Superior right to possession, including as the holder of purchase money security

interests and as against a debtor in default of debt and security agreements.

         36.      FirstCapital’s claims do not support a claim for exemplary damages.

         37.      FirstCapital’s claims do not support a claim for attorneys’ fees.



PLAINTIFF'S ANSWER TO DEFENDANT
FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM - Page 7


CORE/3507552.0006/147955469.2
    Case 5:18-cv-00234-C Document 60 Filed 11/01/18                  Page 8 of 8 PageID 970


                                             PRAYER

         WHEREFORE, Plaintiff respectfully requests that FirstCapital take nothing by way of its

Counterclaims and that First Bank recover its reasonable and necessary attorneys’ fees, and such

other and further relief to which it may be entitled.


                                                        Respectfully submitted,

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                                                        ATTORNEYS FOR PLAINTIFF FIRST
                                                        BANK & TRUST


                                 CERTIFICATE OF SERVICE

       I certify that on November 1, 2018, a true and correct copy of the foregoing document was
served on all counsel of record via the Court’s electronic filing system.

                                                          /s/ Katy L. Hart
                                                          Katy L. Hart




PLAINTIFF'S ANSWER TO DEFENDANT
FIRSTCAPITAL BANK OF TEXAS, N.A.'S COUNTERCLAIM - Page 8


CORE/3507552.0006/147955469.2
